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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
                                          CASE NO: 1:22-mj-00184-RMM
     Plaintiff,

v.

BENJAMIN COLE,
BRIAN PRELLER,
JOHN EDWARD CROWLEY,
JONATHAN ROCKHOLT, and
TYLER QUINTIN BENSCH,

      Defendants.
________________________________/

                ORDER GRANTING MOTION FOR PRO HAC
              VICE ADMISSION OF ATTORNEY JOSEPH FLYNN
                FOR DEFENDANT JOHN EDWARD CROWLEY

This Court, having considered the Motion to Admit Pro Hac Vice Joseph Flynn as
Counsel for Defendant, as well as good cause having been shown, it is hereby

       ORDERED that the Motion for Pro Hac Vice Admission is GRANTED; and it
is further

       ORDERED that Joseph Flynn shall be permitted to appear and be heard on
behalf of the Defendant in the above-captioned matter without the presence of
local counsel. Furthermore, Joseph Flynn is permitted to execute all pleadings in
this case without the necessity of Attorney Vincent Citro being required to also
execute all pleadings in this case.

      SO ORDERED.
                                                           2022.10.24
                                                           12:50:40
                                                           -04'00'
                                        _____________________________________
                                        THE HONORABLE ROBIN M. MERIWEATHER
                                        United States Magistrate Judge
